Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 1 of 30 PagelD #:1

RECEIVED

 

 

 

 

 

UNITED STATES DISTRICT COURT on
NORTHERN DISTRICT OF ILLINOIS MAR 04-2011
EASTERN DIVISION 3 -Y-//
MICHAEL W. DOBBINS
CLERK, U.S. DISTRICT COURT
Rob<A Tew yt Nlo4sz-
(Enter above the full name
of the plaintiff or plaintiffs in
this action)
11 C 1548
* judge Charles R. Norge. Keys .
DR. PaRta Gosh Magistrate Judge Arlander :
WMedreat Dreevtoe,
STATEVILLE Conn. C2 UTTER,

 

Marx Role, c.c.0wet-
ford Heatth Services, TNc.

 

(Enter above the full name of ALL
defendants in this action. Do not

use “et al.")
CHECK ONE ONLY:

— COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (citestatute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTR UCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

lo
Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 2 of 30 PagelD #:2

 

 

 

Plaintiff(s):

A. Name: k o bet Tern 4

B. List al] aliases:

C. Prisoner identification number: _ KJ LOY Se

D. _‘ Place of present confinement: strtesnt Le Covn Cester

 

E  Address: GF O BAZ, Jolred Lh. boyay

(if there is more than oneplaintiff, then each plaintiff must list his or her name, aliases, ID.
number, place of confirement, and current address according to the above format on a
separate sheet of paper.)

Defendant(s):
(In A below, place the fill name of the first defendant in the first blank, his or her official

position in the second blink, and his or her place of employment in the third blank, Space
for two additional defencants is provided in B and C.)

A. Defendant: Prestet (os tf
Tite: VWeareal Direre

Place of Employment: STAVEVaue core LEMTER
B. Defendant; __ MAE Hole

Title: C. E. O
Place of Emplomment:_\W @¥ fore brea (4, Sowces, Fut.

 

C. Defendant:

 

Title:

 

Place of Employment:

 

(if you have more than three defendants, then all additional defendants must be listed
_ according to the above format on a separate sheet of paper.)

2 Revised 9/2007
‘ Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 3 of 30 PagelD #:3

TL. = List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United Stares:

A. Name of case ard docket number. \O ¢c 3693

 

B. Approximate Jate of filing lawsuit: june 2 Lolo

C. List all plaintiffs (if you had co-plaintifffs), including any aliases; Dettoh Wo-
Gan, Lewis «. Heury , clayborw Smith, Kelvus orweod, Lopate Rvosks,

Jouve. Ress Wu Me Plawkir here Robert Teony,

 

D. —_Listall defendants; Rb2-R. Blagotevich, Derdre Bablaglia, limmy Comiguez.
Venta Wirighh, Terry WeGaual Rogers walker, Anlowy Ruwos, mnric
Aréns tirdy Mmichest Ravele, wockent Warns, WAbon Juves,
fvlony Soventive, pedrp maha, fraucive Wikeurte +dredrick Qe.

E. Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county): federat Dishicd Cou, ovikes Pistrich

F. Name of judge to whom case was assigned: &qe, Charles Norale.

 

G. Basic claim made; Chwgusy Commisnry Prices iLems bevouwe
tory Rullovrte Witri¢— uo

 

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?

Is it still pencing?): _ Case. Was RASUASS ed, Awh ts ow pevbwy

(So Def Geshe

 

 

L Approximate date of disposition: Swe 3°, ‘Zo lo

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON. ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL, CASES THEY HAVE FILED.

3 Revised 9/2007
Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 4 of 30 PagelD #:4

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is

involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets if

necessary.) :
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5 Revised 9/2007
V.

Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 6 of 30 PagelD #:6

State briefly exactly what you want tlie court to do for you. Make no Jegal arguments. Cite
no cases or statutes,

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Dectareboy vd Pre lemiarty Rr Jurchors

 

 

VI The plaintiff demands that the case be tried by a jury. Hes O no

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

‘Signedthis ZA day of february, 20 u

 

Qtek le,

 

(Signature of plaintiff or plaintiffs)

Robed Ten

 

(Print name)
NWete

(.D. Number)

stibews Ve bow. Carte

 

 

 

Po-BAMZ, Laleh yt. doy

(Address)

 

6 Revised 9/2007
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Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 8 of 30 PagelID #:8

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Note: Protective Custody Dantats may be grleved Immediately via the loca! administration on the protective custody status notifleation.

Somplote: Attach a copy of any pertinent documont fepch a a Dissiptinary Report, Shakedown Record, ate.) and send to:

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Chiat Administative if EMERGENCY grievance.

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i Goungelor's Response Gf opntioabtey. |

 

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: Administrative Review Board, P.O, Box 12277,

   

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Print Counselor's Narre “ Signature Date of,
/ EMERGENCY REVIEW |
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Recalvad: “ f / ay 40 ts this detennined to ba of an emergency nature? Yes; expedite ememency grievanca

No; an emergency is not substantiated.

Offender should submil this grevence
in tha normal manner.
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| Grievance Officer'a Report

 

 

 

Date Received: Anil 23, 2010 Date of Review: Grievance # (optcnaly 0226
Cammitted Parsan: Robert Tenny iD#: Ni04g2

 

Natura of Grievance: Medical

Filed Timely EMERGENCY ENSURE FOLLOW UP
Facts Reviewed: Grievant alleges he had a PSA exam, never leamed the status of the testing.

Counselor response: Tests came back normal, we do not call them to the HCU for normal resulta, only abuoratal results. He can request a copy of his
lab work. - Per Medical Resords,

Grievance Officer finds the Counselor comectly addressed the issue. No further action necessary.

Recommendation: Grievance issue appears resolved.

 

 

 

 

 

Margaret Thompson
Prind Grievanea Offices’s Name
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j Chicf Administrative Officers Responsa =|
Data Received: SF Aff AL | concan 1 Io not concur C1 Remand
Comments:

 

 

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Committed Parson’s Appeal To The Director |

 

Jam appealing the Chief Administrative Officer's decision to the Director. | understand this appeal must be submitted wilhin 30 days after the date af ihe
Chief Administrative Officer's decisian fo the Administrative Review Board, P.O. Box 19277, spingald, IL 82704-9277, (Attach a complete copy af tite

 

 

 

 

 

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. “ PAT QUINN
Illinois Governor

Department of
Corrections

1301 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 / Telephone: (217) 558-2200 / TOD: (800) 526-0844

MICHAEL P. RANDLE

Director

September 14, 2010

Robert Tenney
Register No. N10482
Stateville Correctional Center

Dear Mr. Tenney:

This is in response to your grievance received on May 26, 2010, regarding medical (Wants results, follow-up
on tests, biopsy 0226), which was alleged to have occurred at Stateville Correctional Center. This office has
determined the issue will be addressed without a formal hearing.

In your grievance appeal you state the Grievance Officer did not address your questions regarding a biopsy

you want done to check your prostate for cancer. You also wanted to know why test results had not been
shared with you.

The Grievance Officer's Report and subsequent recommendation dated April 23, 2010 and approval by the
Chief Administrative Officer on May 11, 2010 have been reviewed.

It is noted the PSA test your refer to was normal and no follow-up required per health care staff.

Based on a total review of all available information, it is the opinion of this office that the issue was
appropriately addressed by the institutional administration. It is, therefore, recommended the grievance be

denied.
FOR THE BOARD: [ec LM

Brian Fairchild ¥
Administrative Review Board
Office of Inmate Issues

CONCURRED: What Kbigll

Michael P. Randle a

Director 9; 7 y D

cc: Warden Marcus Hardy, Stateville Correctional Center
Robert Tenney, Register No. N10482
 

 

Stateville-Routine

 

Case: 1:11-cv-01548 Document #: 1 Filed: Osea PA GR 13 of 30 PagelD #:13

University of illinois Medical Center

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Gresthill, iL 60435 840 South Wood Street,
Roan 170 (M/C 750)
Chicago, Sineis 60512
3 Fredezick Bem, MD Girector
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TENNEY, ROBERT N10482 A209-10482 O6N1/1952 M Final
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TENNEY, ROBERT N10482

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End of Repart

TENNEY, ROBERT 8i@4ae

@S/ie/eais 26:82

DEBS

Stateville-Routina University of Reon TD GHG 750)
~16208 6. Route 52 a {ilinois Chicago, Illinols 60812

Cresthill, IL 6@425 ( 4 Medical Center Ph # (B77)FOR-LABS

ft Reference Laboratory Lanne Maes, M.D., Director

FASTING: U ~
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OFFENDER'S GRIEVANCE
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Note: Protective Custody Denials may be grisved Immediately via the loca! aministration on the protective austody stetwe notification.
Complete: Attach ¢ copy of any pertinent document (euch as a Disciplinary Report, Shakedown Record, ats.) and sond to:
Counselor, unless the issue involves distipiing, Is deemed an emergency, or Is subject to direct revisw by the Administrative Review Board.

Grievance Officer, only I tho issue involves discipline af the present acllty or Issue not resolved by Counselor,
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Case: 1:11-cv-01548 Document #: 1 Filed: 03/04/11 Page 16 of 30 PagelD #:16

ILLINOIS DEPARTMENT oF CORRECTIONS
OFFENDER'S GRIEVANCE ‘(Continusd)

 

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NATURE OF GRIEVANCE:

 

 

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Note: Protective.Custody Dante's may he grieved immadiataly via the local administration on the protective ustody atatus notifieation.
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Administrative Review Board, P.O, Bax 18277,
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Response:

 

 

 

 

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Print Counselors Name Counselors Signature Date of Rexparae

 

 

 

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Complete: Attach a copy of any pertinent document (each as a Disciplinary Report, Shakedown Record, ete.) and send to:

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oT EMERGENCY REVIEW 7

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Offender should submit this grievance
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ie Ocument #: 1 Filed: 03/041 teat 23 of 30 PagelD #:23
. RESPONSE TO COMMITTED PERSON'S GRIEVANCE

 

| Grievance Officer’s Report |

Date Received: September 17, 2008 Date of Review:
Committed Person: Robert Tenny _

Nature of Grievance: Medical t

cancer

Counselor Response: Offender was seen on %-14-08. Offender will be scheduled for a sick call faitow np with Dr, Young

‘This Grievance Officer reviewed grievance and finds iame appears to be resolved

Recommendation: No further actions

 

 

Facts Reviewad: Grievant alleges having a mild hernia and it did not require eurgery- He states requesting x-rays and ultrsounds to rakee-ut

 

 

 

 

 

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i Committed Person’s Appeal To The Director |

  

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PAT QUINN

Illinois Governor
Department of Roger E. Walker ur.

| Corrections Director

1301 Concordia Court / P.O. Box 19277 / Springfield IL 62794-9277 / Telephone: (217) 558-2200 / TDD: (800) 526-0844
March 18, 2009
Robert Tenney

Register No. N10482
Stateville Correctional Center

Dear Mr. Tenney:

This is In response to your grievance received on October 16, 2008, regarding Medical (was dlagnesed with
a small hemia and wants an ultrasound or x-ray to see the extent of Issue), which was alleged to have
occurred at Stateville Correctional Center. This office has determined the issue will be addressed without a
formal hearing.

The Grievance Officer's report, 1436 and subsequent recommendation dated September 17, 2008 and
approval by the Chief Administrative Otficer on September 24, 2008 have been reviewed.

Records indicate you were seen by Dr. Zang on September 18, 2008 for right groin hemia which was small
and reducible. You were se@n agaln on January 13, 2008. Per medica! records a request was made for an
Ultrasound of Prostate at UIC on February 17, 2008. a

Based on a total review of all available information, it is the opinion of this office that the issue was
appropriately addressed by the institutional administration. It is, therefore, recommended the griavance be

denied.
FOR THE BOARD: uh bhaans

Sarah Johnson
Administrative Review Board
Office of Inmate Issues

Roger A (le Wf
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cc: Acting Warden Frank Shaw, Stateville Correctional Center
Robert Tenney, Register No. N10482

CONCURRED:
Case: 1: 11- -Gv- (01548 Document #: 1 Filed: 03/04/11 Page 25 of 30 PagelD #:25
STATEVILLE CORRECTIONAL CENTER

 

 

 

 

 

euit Notification of Appointment to HCU
Name TENNEY. Number N10482 Date: 9/22/08
Cell____D 0747 Time to Report__10:00 AM Assignment.
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Note: Protective Custody Denials may be qeved Immediately via the lotel exiministrasion on the protective custody status nabiicatan.

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Robert Tenwoy Pan
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IN THE
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Ro Beer Terny NICKS pry.se

Plaintiff, |
Case No.

 

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Pardh (hos Merk Hole
Defendant

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PROOF/CERTIFICATE OF SERVICE

TO: Prisower Corres oud eat TO:
Ws, PistirickCoure
S14 S. Neacharw Street
Cocngor Ey Esbo4t

 

 

 

 

PLEASE TAKE NOTICE that on Feboruracy 41,204 , Ihave placed the

documents listed below in the institutional mail at Shurhen ike Correctional Center,
properly addressed to the parties listed above for mailing through the United States Postal

Service:

Cant lowplark (wher 42 hse @ 1483 Awd taeda
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Pursuant to 28 USC 1746, 18 USC 1621 or 735 ILCS 5/109, I declare, under penalty of
perjury, that lam anamed party in the above action, that I have read the above
documents, and that the information contained therein is true and correct to the best of my

knowledge.

DATE: A 23 isi fUpwt fog

NAME: Robe** env
ipoce: AVNte
S Nale Correctional Center

P.0.BOX \2-
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